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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 18-80109-CR-ROSENBERG


  UNITED STATES OF AMERICA,

        Plaintiff,

  vs.

  JOHN O’GRADY,

              Defendant.
  ____________________________/

                                  NOTICE OF FILING

        Defendant, John O’Grady, through undersigned counsel, files the attached

  letter for the Court's consideration at the time of his sentencing.


                                          Respectfully submitted,

                                          MICHAEL CARUSO
                                          Federal Public Defender

                                          s/ Peter Birch
                                          Peter Birch
                                          Assistant Federal Public Defender
                                          Attorney for the Defendant
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                              CERTIFICATE OF SERVICE


        I HEREBY certify that on October 10, 2018, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.           I also certify that the

  foregoing document is being served this day on all counsel of record via transmission

  of Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive electronically

  Notices of Electronic Filing.

                                         s/ Peter Birch
                                         Peter Birch




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